Case 23-12825-MBK Doc 524-1 Filed 05/15/23 Entered 05/15/23 21:28:04                                             Desc
                Declaration of Mark W. Rasmussen Page 1 of 2



    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

    WOLLMUTH MAHER & DEUTSCH LLP
    Paul R. DeFilippo, Esq.
    500 Fifth Avenue
    New York, New York 10110
    Telephone: (212) 382-3300
    Facsimile: (212) 382-0050
    pdefilippo@wmd-law.com

    JONES DAY
    Gregory M. Gordon, Esq.
    Brad B. Erens, Esq.
    Dan B. Prieto, Esq.
    Amanda Rush, Esq.
    2727 N. Harwood Street
    Dallas, Texas 75201
    Telephone: (214) 220-3939
    Facsimile: (214) 969-5100
    gmgordon@jonesday.com
    bberens@jonesday.com
    dbprieto@jonesday.com
    asrush@jonesday.com
    (Admitted pro hac vice)

    PROPOSED ATTORNEYS FOR DEBTOR
    In re:                                                          Chapter 11

    LTL MANAGEMENT LLC, 1                                           Case No.: 23-12825 (MBK)

                                Debtor.                             Judge: Michael B. Kaplan

                                                                    Hearing Date and Time:
                                                                    May 16, 2023 at 10:00 a.m.


                               DECLARATION OF MARK W. RASMUSSEN

                     I, Mark W. Rasmussen, hereby declare under penalty of perjury:

                     1.       I am a partner of the law firm of Jones Day, and my office is located at

2727 N. Harwood, Dallas, Texas 75201. I am a member in good standing of the Bars of the

State of Texas and New York. My application to appear pro hac vice in this case has been

granted by the Court. There are no disciplinary proceedings pending against me.


1
             The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
             501 George Street, New Brunswick, New Jersey 08933.


NAI-1536840093v1
Case 23-12825-MBK Doc 524-1 Filed 05/15/23 Entered 05/15/23 21:28:04                             Desc
                Declaration of Mark W. Rasmussen Page 2 of 2



                   2.     I submit this declaration (the “Declaration”) in connection with the

Debtor’s Objection to the Official Committee of Talc Claimants’ Motion to Compel filed

contemporaneously herewith. I have personal knowledge of the matters set forth herein.

                   3.     Attached hereto as Exhibit A is a true and correct copy of excerpts from

the April 18, 2023 court hearing.

                   4.     Attached hereto as Exhibit B is a true and correct copy of excerpts from

the April 14, 2023 deposition of John Kim.

                   Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct to the best of my knowledge and belief.



Dated: May 15, 2023                                      Respectfully submitted,

                                                         /s/ Mark W. Rasmussen
                                                         Mark W. Rasmussen




                                                   -2-
NAI-1536840093v1
